                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                     :    Chapter 7
                                                           :    Case No. 23-10253 (KBO)
AKORN HOLDINGS COMPANY LLC, et                             :    (Jointly Administered)
al.1                                                       :
                                                           :    Hearing: April 27, 2023
                  Debtors.                                 :
                                                           :    Objection Deadline: At the hearing.
                                                           :

     LIMITED OBJECTION AND RESERVATION OF RIGHTS OF THERMO FISHER
           ENTITIES TO TRUSTEE’S MOTION FOR ENTRY OF (I) AN ORDER
      (A) APPROVING BIDDING PROCEDURES IN CONNECTION WITH SALE OF
        SUBSTANTIALLY ALL OF THE ESTATES’ ASSETS, (B) SCHEDULING AN
         AUCTION AND HEARING TO CONSIDER THE PROPOSED SALE, AND
    (C) APPROVING THE FORM AND MANNER OF NOTICE THEREOF; AND (II) AN
    ORDER (A) APPROVING THE SALE, (B) AUTHORIZING THE ASSUMPTION AND
     ASSIGNMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES, AND
                    (C) GRANTING CERTAIN RELATED RELIEF

         Thermo Fisher Scientific, Inc., Fisher Scientific Company, L.L.C., Patheon

Manufacturing Services, L.L.C., Patheon Pharmaceuticals, Inc., Patheon, Inc., and PPD

Development, LP (fka PPD Development L.L.C.). (collectively, the “Thermo Fisher Entities”),

by and through their undersigned counsel, file this Limited Objection and Reservation of Rights

of Thermo Fisher Entities to Trustee’s Motion for Entry of (I) an Order (A) Approving Bidding

Procedures in Connection with Sale of Substantially All of the Estates’ Assets, (B) Scheduling an

Auction and Hearing to Consider the Proposed Sale, and (C) Approving the Form and Manner

of Notice Thereof; and (II) an Order (A) Approving the Sale, (B) Authorizing the Assumption and

Assignment of Executory Contracts and Unexpired Leases, and (C) Granting Certain Related

Relief [Doc. No. 106], and in support thereof, states as follows.


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 The Debtors in these chapter 7 cases, along with the last four digits of their federal tax identification numbers, and
cases numbers are Akorn Holding Company LLC (9190), Case No. 23-10253 (KBO); Akorn Intermediate Company
LLC (6123), Case No. 23-10254 (KBO); and Akorn Operating Company LLC (6184), Case No. 23-10255. The
Debtors’ headquarters is located at 5605 CenterPoint Court, Gurnee, IL 60031.
                                         BACKGROUND

        1.       The Thermo Fisher Entities and various of the Debtors are parties to certain

supply, service, and purchase agreements (collectively the “TFS Agreements”).

        2.       On February 23, 2023 (the “Petition Date”), the Debtors each filed a voluntary

petition for relief under chapter 7 of title 11 of the United States Code, 11 U.S.C. § 101, et seq.

(the “Bankruptcy Code”).

        3.       George L. Miller was appointed as the Chapter 7 Trustee (the “Trustee”).

        4.       While the Debtors’ United States operations have ceased, non-debtor Akorn AG,

the Debtors’ Swiss affiliate, continues to operate. Akorn AG is wholly owned by non-debtor

Akorn International S.á.r.l, which is based Luxemborg. In turn, Akorn International S.á.r.l is

wholly owned by Debtor Akorn Operating Company LLC (“Akorn Operating”).

        5.       The Thermo Fisher Entities had supplied Akorn Operating to and for a short time

following the Petition Date. Although some pre-petition obligations have been paid, the Debtors

remain obligated to the Thermo Fisher Entities with respect to both pre-petition and post-petition

goods and services.

        6.       On March 7, 2023, the Thermo Fisher Entities sent a reclamation demand letter to

the Trustee with respect to invoiced goods, in the amount of $161,238.53, provided in the 45

days prior to the Petition Date. Of that amount, $104,191.74 was provided in the 20 days prior to

the petition date and is entitled to an administrative claim under § 503(b)(9) of the Bankruptcy

Code. Product was shipped after the Petition Date totaling $4,210.15, before the claimants had

notice of the Bankruptcy, which were delivered to the Debtor’s business. The Trustee

acknowledged the reclamation demand and made the offer for return provided Thermo Fisher




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had to go onsite to retrieve at the supervision of the Trustee or his agents. Those goods remain at

the Debtors’ properties.

        7.       Following the Petition Date, the Trustee began preparing a process for the sale of

substantially all assets of the Debtors.            As part of this sale process, the Debtors engaged

Greenhill & Co. (“Greenhill”) to market the assets with the exception of certain excluded assets

including, but not limited to, inventory, accounts receivable, and labeler codes (the “Excluded

Assets”). Greenhill will consider offers for all assets but for the Excluded Assets, as well as

offers for various combinations of assets or single assets.

        8.       On April 20, 2023, the Trustee filed his Motion for Entry of (I) an Order (A)

Approving Bidding Procedures in Connection with Sale of Substantially All of the Estates’

Assets, (B) Scheduling an Auction and Hearing to Consider the Proposed Sale, and (C)

Approving the Form and Manner of Notice Thereof; and (II) an Order (A) Approving the Sale,

(B) Authorizing the Assumption and Assignment of Executory Contracts and Unexpired Leases,

and (C) Granting Certain Related Relief (the “Bid Procedures Motion”), wherein the Trustee

seeks the Court approval of a sale of substantially all assets of the Debtors. [Doc. No. 106.].

        9.       The Bid Procedures Motion set forth, inter alia, the procedures in which the

Trustee intends to pursue a competitive sale process of the Debtors’ assets under section 363 of

the Bankruptcy Code.

                                             The Bid Procedures

        10.      The Bid Procedures provide that, in order for a Potential Bidder to qualify as a

“Qualified Bidder”, certain requirements must be satisfied, including that each Potential Bidder

and, ultimately Qualified Bidder, must2:



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        All capitalized terms used, but not defined, herein shall have the meaning ascribed to it in the Sale Motion.


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                 (xiii) include[ ] (if applicable) a designation of contracts and/or
                 leases to be assumed and assigned to the Potential Bidder,
                 agreement to pay in full any associated cure costs, and evidence of
                 the Potential Bidder’s ability to perform future obligations under
                 such contracts and/or leases;

                 (xiv) is reasonably likely (based on availability of financing,
                 regulatory issues, experience, and other considerations) to be
                 consummated, if selected as a Successful Bid . . . , within a
                 timeframe acceptable to the Trustee (with the consent of the
                 Consultation Parties).

[Sale Motion, at ¶ 31.]

        11.      While the Bid Procedures do require a Potential Bidder to provide adequate

assurance of future performance, the Sale Motion is vague as to what information would

constitute such adequate assurance, stating only, in the proposed Form of Sale Order, that “[t]he

Purchasers’ promises to perform the obligations under the Assigned Contracts/Leases after the

Closing Date shall constitute adequate assurance of future performance within the meaning of

section 365(f)(2)(B) of the Bankruptcy Code.” [Doc No. 106-3, at ¶ U.]

        12.      Furthermore, although the Bid Procedures appear to require the adequate

assurance of a Potential Bidder’s financial ability to perform under the assumed and assigned

executory contract, the Bid Procedures are devoid of any specific information regarding adequate

assurance of the Potential Bidder’s or the prospective Successful Bidder’s current compliance

with, and ability in the future to satisfy and comply with, all statutory and regulatory

requirements necessary to fully perform under the executory contract.

                                     LIMITED OBJECTION

I.      The Bid Procedures fail to provide adequate assurance of the Potential Bidders’ and
        the Purchaser’s compliance with and future ability to (a) fully comply with all
        statutory and regulatory requirements of the TFS Agreements and (b) qualify as an
        assignee of the TFS Agreements.




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          13.    The Thermo Fisher Entities object to the Bidding Procedures because they do not

comply with Section 365 of the Bankruptcy Code which governs the assumption and assignment

of unexpired leases and executory contracts.

          14.    A debtor is required to provide “adequate assurance” of the assignee’s ability to

perform under the assumed and assigned executory contract pursuant to section 365(b)(1)(C):

                 If there has been a default in an executory contract or unexpired
                 lease of the debtor, the trustee may not assume such contract or
                 lease unless, at the time of assumption of such contract or lease,
                 the trustee—

                 ***

                 (C) provides adequate assurance of future performance under such
                 contract or lease.

11 U.S.C. § 365(b)(1)(C).

          15.    While the proposed Bidding Procedures require all Qualified Bidders, which

would include the ultimate Purchaser, to provide adequate assurance of their financial ability to

perform under an executory contract, the Bidding Procedures fail to provide any warranty or

representation of the Potential Bidder’s ability to comply with all laws and regulations that are

applicable to the executory contract(s).

          16.    Based on the highly regulated nature of the Debtors’ businesses, as well as

ongoing international dealings through Akorn AG, it is imperative that any Bid Procedures

approved by this Court require each and every Potential Bidder, and ultimately, the Purchaser, to

provide the Thermo Fisher Entities with adequate assurance of its ability to fully comply with all

statutes and regulations, both national and international, prior to the assumption and assignment

of the TFS Agreements and prior to the Court’s approval of any sale of all or part of the Debtors’

assets.




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        17.      Second, the Thermo Fisher Entities must receive, and are entitled to, sufficient

information from each Qualified Bidder and the ultimate Purchaser to allow the Thermo Fisher

Entities to determine whether such bidder qualifies as an assignee under the TFS Agreements in

a timely fashion that would enable the Thermo Fisher Entities to object to approval of any sale to

an entity that has not provided such information or to an entity that has provided the information

but who falls short on its ability to provide adequate assurance of future performance. That

means on both a financial basis and an operational basis with respect to compliance with

applicable laws, regulations and licensing requirements, including inter alia, the Foreign Corrupt

Practices Act, the Federal Food, Drug and Cosmetic Act, the FDA Current Good Manufacturing

Practice (CGMP) regulations, or any other regulatory or legal requirements of any governmental

entity (for example, the FDA, HHS, CMS or DEA).

        18.      Therefore, before being bound to an assignment of any of the TFS Agreements,

the Thermo Fisher Entities are entitled to be provided information, within a reasonable period of

time and with reasonably sufficient details, whereby they can confirm that a Qualified Bidder is

qualified as an assignee to the TFS Agreements and to object if the Qualified Bidder is not so

qualified.

        19.      As such, the Thermo Fisher Entities object to the Bid Procedures to the extent that

the proposed procedures do not provide a mechanism to provide such adequate assurance.

II.     The Bid Procedures Motion does not address rights of reclaiming creditors, and the
        Thermo Fisher Entities reserve all of their rights regarding the same.

        20.      The Bid Procedures Motion is silent on the obligations of the Trustee, and the

effect of the sale, on existing rights of reclamation of Thermo Fisher with respect to goods

provided to the Debtors in the 45-day period prior to the Petition Date (the “Reclamation

Period”).



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        21.      Certain of the Thermo Fisher Entities transmitted timely demands for reclamation

of goods to the Trustee. To the extent that the goods have not been paid for or returned, then the

Thermo Fisher Entities are entitled to be paid for the value of the goods from the proceeds of any

sale if those assets are transferred to the buyer, and the Bidding and Sale Procedures should so

provide.

        22.      Furthermore, the Trustee has not provided procedures for the return of goods and

inventory that constitute excluded assets nor has the Trustee explained how the Trustee intends

to preserve such inventory until is either returned or retrieved. Because there is potentially

hundreds of thousands of dollars of value in the inventory, at a minimum those assets must be

accounted, for and preserved and cared for during the sale process.

                                 RESERVATION OF RIGHTS

        23.      The Thermo Fisher Entities reserve their rights with respect to payment owed for

both pre-petition and post-petition goods and services, and with respect to any executory

contracts with the Estates, including with respect to any cure or damages for rejection thereof

and/or to enforce their rights and remedies under applicable law, or as otherwise authorized by

the Court.

        24.      The Thermo Fisher Entities reserve the right to amend or supplement the

foregoing objections, to join in other objections filed and to further revise and/or amend the

foregoing, or to enforce other rights and remedies under applicable law, or as otherwise

authorized by the Court.

        WHEREFORE, the Thermo Fisher Entities respectfully requests that this Honorable

Court issue an Order denying or modifying, as it is currently proposed, the Trustee’s Motion for

Entry of (I) an Order (A) Approving Bidding Procedures in Connection with Sale of




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Substantially All of the Estates’ Assets, (B) Scheduling an Auction and Hearing to Consider the

Proposed Sale, and (C) Approving the Form and Manner of Notice Thereof; and (II) an Order

(A) Approving the Sale, (B) Authorizing the Assumption and Assignment of Executory

Contracts and Unexpired Leases, and (C) Granting Certain Related Relief, and granting such

other and further relief as the Court deems just and proper.

Dated:      April 26, 2023                    Respectfully submitted,
            Wilmington, Delaware
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